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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS



   UNITED STATES OF AMERICA,

   Plaintiff,

   v.

   EARNEST STANFIELD,

   Defendant.                                     No. 06-CR-30078-DRH




                                     ORDER

   HERNDON, District Judge:

                Before the Court are Defendants’ motions to continue the trial

   setting in this case. (Docs. 23, 25.) The Court, being fully advised in the

   premises, finds that trial should be postponed as to both Defendants. The

   Court additionally finds that, pursuant to 18 U.S.C. § 3161(h)(8)(A), the

   ends of justice served by the granting of a continuance outweigh the interests

   of the public and Defendants in a speedy trial.         Therefore, the Court

   GRANTS Defendants’ motions to continue. (Docs. 23, 25.)               The Court

   CONTINUES Defendants’ trial to Tuesday, September 18, 2006 at 9:00 a.m.

   The time from the date Defendants’ motion was filed, July 14, 2006, until




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   the date on which the trial is rescheduled, September 18, 2006, is

   excludable time for the purposes of speedy trial.

               IT IS SO ORDERED.

               Signed this 14th day of July, 2006.

                                         /s/     David RHerndon
                                         United States District Judge




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